Case 1:97-cv-00183-BLW Document 60 Filed 02/06/98 Page 1 of 3

Philip H. Gordon hoe : “_onorable B: Lynn Winmill
GORDON LAW OFFICES

1602 W. Franklin St.

Boise, ID 83702 U.S. COURTS

(208) 345-7109 QBFEB-6 PH 3:57

Steve W. Berman <0 i. E rca

HAGENS & BERMAN “GAMER CN S. BUNS

1301 Fifth Avenue, Suite 2929

Seattle, WA 98101

(206) 623-7292

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

LORI BARTON, on behalf of all others

similarly situated,
Plaintiff, Case No. CV 97-183-S-BLW
Vv.
ALBERTSON'S, INC.,
Defendant.

 

 

JAMES G. ROSE, by and through Laree Lovan,

his natural mother and guardian ad litem, and Case No. CV 97-183-S-BLW
on behalf of himself and all others similarly
situated, MEMORANDUM IN SUPPORT OF
PROPOSED ORDER REGARDING
Plaintiff, THE DUTIES OF LEAD COUNSEL
Vv.
ALBERTSON’S, INC.,
Defendant.

 

 

MEMORANDUM IN SUPPORT OF PROPOSED ORDER REGARDING THE DUTIES
OF LEAD COUNSEL - 1
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Previously the Court, after briefing and argument, appointed two law firms' to act as lead
counsel for the proposed class. The Court ordered the two firms to meet and submit a proposed
order setting forth the duties of lead counsel.

After an exchange of proposals and several meetings, the Webster and Berman firms have
made progress but have reached an impasse as to the duties of lead counsel.

The impasse arises out of the insistence by the Webster firm that it be the “chief
spokesperson” on all matters. The Berman firm submits that it cannot, consistent with its
obligations to the class, abdicate its responsibilities by blindly agreeing that the Webster firm
should act as chief spokesperson. This is particularly true given the allegations and evidence
submitted regarding possible conflicts.

As has been done in dozens of cases where Hagens & Berman has been lead counsel, the
order appointing lead counsel provides lead counsel with all duties. Counsel then work together
in a truly coordinated fashion. We have never had a problem in this regard. For example, in the
Morrison Knudsen Securities Litigation before Judge Lodge, three firms were appointed lead
counsel and no one firm was designated as “chief spokesperson”.

We assume that the Court wanted the Berman firm to serve as co-lead and to do so in true
leadership fashion that did not require a subordinate role to the Webster firm.

A proposed order is submitted with this memorandum.

 

' Webster, Mrak & Blumberg (the Webster firm) and Hagens & Berman (the Berman firm)
2 We have not and will not criticize the Webster firm and have avoided the name-calling
engaged in by that firm. Rather, we believe it is in the class interests for us to work together.
Our ability to work with other firms is one of reasons we have been appointed to represent
thirteen states in the tobacco litigation.
MEMORANDUM IN SUPPORT OF PROPOSED ORDER REGARDING THE DUTIES
OF LEAD COUNSEL - 2

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Case 1:97-cv-00183-BLW Document 60 Filed 02/06/98 Page 3 of 3

RESPECTFULLY SUBMITTED this 6th day of February, 1998,

GORDON Let W OFFICES ©

   

 

    
  

/ (208) 345-710

1301 Fifth Avenue, Suite 2929
Seattle, WA 98101
(206) 623-7292

Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

I hereby certify that I served true and correct copies of the foregoing MEMORANDUM IN
SUPPORT OF PROPOSED ORDER REGARDING THE DUTIES OF LEAD COUNSEL on
the following. yy

Dated: February 6 1998.

ruary

Alan C. Herzfeld, Esq. & Scott McKay, Esq.
NEVIN HERZFELD & BENJAMINE

303 W. Bannock

Boise, Idaho

via hand delivery

James H. Webster, Esq & Richard P. Blumberg, Esq.
WEBSTER MRAK & BLUMBERG
600 Puget Sound Plaza oF

1325 4” Ave. ef mmm Nm a
Seattle, WA 98101 a

via first class postage

 
 

 

OF LEAD COUNSEL - 3

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